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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                                 No. 2:21-cv-71 SMV/KRS

$426,590 in UNITED STATES CURRENCY, et al.,

               Defendants-in-rem

       and

MAYKEEL S. GEORGES,

               Claimant.

                ORDER ADOPTING JOINT STATUS REPORT AND
             PROVISIONAL DISCOVERY PLAN WITH MODIFICATIONS

       At the Rule 16 scheduling conference held on October 5, 2021, the Court reviewed the

parties’ Joint Status Report and Provisional Discovery Plan, and adopted it as modified by the

dates provided in the Court’s Scheduling Order, filed concurrently with this Order.

       IT IS SO ORDERED.




                                             ___________________________________
                                             KEVIN R. SWEAZEA
                                             UNITED STATES MAGISTRATE JUDGE
